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                                  UNITED STATES OF AMERICA

                         IN THE WESTERN DISTRICT OF MICHIGAN

Julie Peffer, Jesse Peffer,                                  Docket No. 1:17-cv-00578
        Plaintiffs
                                                             Hon. Gordon J. Quist
v.                                                           District Court Judge

Tyler Thompson, Dan King, and
Rich Kopach
        Defendants.
__________________________________________________________________________/
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            CERTIFICATE OF COMPLIANCE WITH W.D. Mich. LCivR 7.1(d)

                              Attachment 1 – e-mails seeking concurrence
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